      Case 1:17-cr-00034-JRH-BKE Document 227 Filed 02/08/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                      *
                                              *
                      Plaintiffs,             *
                                              *
v.                                            *      1:17-CR-0034 (BKE)
                                              *
REALITY LEIGH WINNER                          *
                                              *
                        Defendant.            *
                                              *
* * * * * * * * * * * * * * * * * *           *

                           NOTICE OF INTENT TO FILE REPLY

       COMES NOW, Defendant Reality Leigh Winner, through undersigned counsel, hereby

notifies the Court of her intent to file a reply in support of Defendant's Objections and Appeal of

Magistrate's Decision Granting In Part and Denying In Part Defendant's Motion to Compel

Discovery Requests filed at Doc. No. 214          on January 23, 2018 and in response to the

Government's opposition at Doc. No. 226 filed on February 6, 2018.


Respectfully submitted,

/s/ Thomas H. Barnard

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       Case 1:17-cr-00034-JRH-BKE Document 227 Filed 02/08/18 Page 2 of 2



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COUNSEL FOR DEFENDANT
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                                 CERTIFICATE OF SERVICE

    I hereby certify that on February 8, 2016, I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which sent notification of such filing to Counsel of Record

for all parties.


                                                              /s/ Thomas H. Barnard
                                                              Thomas H. Barnard, Esq.




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